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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


JAY GLENN,
Plaintiff,

v.                                               Case No. 1:16-cv-02498-RCL


THOMAS FORTUNE FAY,
FAY LAW GROUP, P.A.,
STEVEN R. PERLES, and
PERLES LAW FIRM, P.C.,
Defendants.



     ENTRY OF APPEARANCE OF JOHN VAIL ON BEHALF OF THOMAS
              FORTUNE FAY AND FAY LAW GROUP, P.A.
	
	     John	Vail,	a	member	of	the	bar	of	the	District	of	Columbia	and	of	the	bar	of	

this	Court,	hereby	enters	his	appearance	on	behalf	of	Thomas	Fortune	Fay	and		

Fay	Law	Group,	P.A.	

	     	     	     	     	                 Respectfully	submitted,		
	
	     	     	     	     	                 	
	
	     	     	     	     	                 _________/s/	John	Vail__________________			
	     	     	     	     	                 John	Vail,	of	Counsel	 	(DC	Bar	461512)	
	     	     	     	     	                 FAY	LAW	GROUP,	P.A.	            	
	     	     	     	     	                 777	Sixth	Street,	NW	
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                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that this Entry of Appearance was filed electronically via the
Court's ECF system and was served electronically at that time on all counsel of record, all
of whom are registered to receive filings via the Court's ECF system.

	




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